                 Case 2:19-cr-00101-RSL Document 41 Filed 09/16/20 Page 1 of 2




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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                             Plaintiff,                Case No. CR19-101 RSL

10          v.                                           ORDER

11   TRAVIS WAYNE PRUETT,

12                             Defendant.

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            THIS MATTER has come before the undersigned on the motion of the Defendant, Travis
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     Wayne Pruett, to reopen his detention hearing and to be released to a secure in-patient chemical
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     dependency treatment facility. (Dkt. # 33.) The Court heard oral argument on September 16,
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     2020. (Dkt. # 40.) The Court, having considered Defendant’s motion and attachments, the
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     government’s response, and oral argument, and for the reasons stated on the record, finds
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     Defendant may be temporarily released to the secure in-patient facility at American Behavioral
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     Health Systems in Spokane, Washington.
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            IT IS ORDERED that there are compelling reasons to temporarily release Defendant
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     Travis Wayne Pruett to the in-patient chemical dependency treatment facility at the American
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     Behavioral Health Systems. American Behavioral Health Systems will pick up Defendant from
23
     custody and transport him to the in-patient facility in Spokane, Washington. United States
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     ORDER - 1
                 Case 2:19-cr-00101-RSL Document 41 Filed 09/16/20 Page 2 of 2




 1   Pretrial Services will coordinate Defendant’s temporary release with the United States Marshal’s

 2   Office. Upon release from American Behavioral Health Systems, the Defendant will reside with

 3   his father Jeff Hamilton and a status hearing before the undersigned will be scheduled within

 4   three days of Defendant’s release from American Behavioral Health Systems. If Defendant does

 5   not successfully complete the program at American Behavioral Health System, Defendant will

 6   immediately be returned to the custody of the United States Marshal’s Office.

 7          The Clerk is directed to send copies of this order to the parties and to the Honorable

 8   Robert S. Lasnik.

 9          Dated this 16th day of September, 2020.


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11                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
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     ORDER - 2
